                        MEMORANDUM CASES.
THE COURT.
[1] The questions presented by the petition herein were fully considered in our discussion of cases S.F. No. 12707 to No. 12766, both inclusive, ante, p. 148 [273 P. 797], all of which were considered together in one opinion, this day filed. Upon the authority of what we said in our consideration of said cases considered in one opinion, and more particularly with respect to what we said in that portion of said opinion bearing directly upon the instant case, the petition of K.E. Boone for a writ of mandamus *Page 792 
commanding the surveyor-general of the state to issue to petitioner Boone a permit to prospect for oil and gas upon the tide and submerged lands described in his petition is granted and the writ will issue. It is so ordered.
Rehearing denied.
Shenk, J., and Curtis, J., voted for a rehearing.